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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSSETTS


 KARI PROSKIN, individually and on behalf
 of all others similarly situated,
                                                  Civil Action No.: 3:23-cv-30078
                              Plaintiff,

        v.

 FOURSQUARE LABS, INC.,

                              Defendant.


             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Kari Proskin hereby

dismisses without prejudice all claims against Defendant Foursquare Labs, Inc.


 Dated: October 26, 2023                               /s/ Joel D. Smith ______
                                                         Joel D. Smith

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